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 2   523 Octavia Street
     San Francisco, CA 94102
 3   Telephone: (415) 431-3472
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 4   Email: doronweinberg@aol.com
 5   Attorney for Defendant
     TONY CHAO FAN LUO
 6
 7                                              UNITED STATES DISTRICT COURT
 8                                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9                                                     FRESNO DIVISION
10
     UNITED STATES OF AMERICA,           )                        CASE NO. 01:11 CR 00113 AWI
11                                       )
                 Plaintiff,              )
12                                       )                        STIPULATION PERMITTING
                 vs.                     )                        TRAVEL OUTSIDE DISTRICT;
13                                       )                        ORDER
     TONY CHAO FAN LUO, et. al.,         )
14                                       )
                 Defendants.             )
15   ___________________________________ )
16
                IT IS HEREBY STIPULATED between the parties, Assistant United States Attorney
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     Laurel Montoya, for Plaintiff United States of America, and Doron Weinberg, attorney for
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     defendant Tony Luo, that defendant is permitted to travel to Las Vegas, Nevada, for the purpose
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     of visiting with family members during the Christmas holiday. Specifically, defendant will leave
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     California on Friday, December 23 and return on Monday, December 26, 2011.
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                Defendant agrees to adhere to all requirements set forth by Pretrial Services while he is
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     away.
23
24
     Dated: December 15, 2011                              /s/ Laurel Montoya
25                                                         LAUREL MONTOYA
                                                           Assistant United States Attorney
26
27   _____________________________________
     Stipulation Permitting Travel Outside District;
28   Order (Case No. CR-11-00113 AWI)                         1
               Case 1:11-cr-00113-DAD-BAM Document 66 Filed 12/16/11 Page 2 of 2


 1
                                                       LAW OFFICES OF DORON WEINBERG
 2
 3
     Dated: December 15, 2011                           /s/ Doron Weinberg
 4                                                     DORON WEINBERG
 5                                                     Attorney for Defendant
                                                       TONY CHAO FAN LUO
 6
 7                                                     ORDER
 8   IT IS SO ORDERED.
 9
     Dated:         December 16, 2011
10   0m8i78                                             CHIEF UNITED STATES DISTRICT JUDGE
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27   _____________________________________
     Stipulation Permitting Travel Outside District;
28   Order (Case No. CR-11-00113 AWI)                    2
